                 Case
              Case    20-1940, Document
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MANDATE                                                                                    S.D.N.Y. – N.Y.C.
                                                                                                   19-cr-561
                                                                                                   Preska, J.

                              United States Court of Appeals
                                                    FOR THE
                                            SECOND CIRCUIT
                                            _________________

                   At a stated term of the United States Court of Appeals for the Second
     Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
     in the City of New York, on the 22nd day of September, two thousand twenty.

     Present:
                    Dennis Jacobs,
                    Gerard E. Lynch,
                    Richard J. Sullivan,
                                                                                          11/13/2020
                          Circuit Judges.

     In re: Steven Robert Donziger,                                                20-1940

                                    Petitioner.


     Before the Court are (1) Steven Robert Donziger’s petition for a writ of mandamus for relief from
     rulings of the district court; (2) Donziger’s motion for permission to file an oversized petition; and
     (3) Amicus National Lawyers Guild’s motion to file an oversized brief in support of the petition.
     Upon due consideration, it is hereby ORDERED that Donziger’s motion to file an oversized
     petition is GRANTED, and Amicus’s motion to file an oversized brief is DENIED. If is further
     ORDERED that the mandamus petition is DENIED because Donziger has not demonstrated that
     exceptional circumstances warrant the requested relief or that he lacks an adequate, alternative
     means of obtaining relief. See Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 380–81 (2004).

                                                    FOR THE COURT:
                                                    Catherine O’Hagan Wolfe, Clerk of Court




MANDATE ISSUED ON 11/13/2020
